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               IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF ARKANSAS
                         WESTERN DIVISION
 DONNA CAVE, JUDITH LANSKY,                                  PLAINTIFFS
 PAT PIAZZA, AND SUSAN RUSSELL

 ANNE ORSI; AMERICAN HUMANIST     CONSOLIDATED PLAINTIFFS
 ASSOCIATION; FREEDOM FROM
 RELIGION FOUNDATION, INC.;
 ARKANSAS SOCIETY OF FREETHINKERS;
 JOAN DIETZ; GALE STEWART; RABBI
 EUGENE LEVY; REV. VICTOR H. NIXON;
 TERESA GRIDER; AND WALTER RIDDICK

 THE SATANIC TEMPLE; DOUG MISICKO,                           INTERVENORS
 AKA "LUCIEN GREAVES"; AND ERIKA
 ROBBINS

 VS.                                    CASE NO. 4:18-CV-00342


 JOHN THURSTON, ARKANSAS SECRETARY                            DEFENDANT
 OF STATE, IN HIS OFFICIAL CAPACITY
 _______________________________________________________
                VIDEOTAPED ORAL DEPOSITION
                          OF THE
       30(b)(6) REPRESENTATIVE OF THE SATANIC TEMPLE
                 DOUGLAS ALEXANDER MISICKO
 _______________________________________________________

                             March 10, 2020
             Office of the Arkansas Attorney General
                        323 Center Street
                   Little Rock, Arkansas 72201



 Shyloa Myers, RPR, CCR
 Arkansas Lic. No. 710
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         ALSO PRESENT:
         MICHAEL FINCHER
         RACHEL KLUENDER
         BRITTANY GARCIA
         ERIKA ROBBINS
         TOM HALLUM, Videographer
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1
2
3
                                   C A P T I O N
4
5           ANSWERS AND ORAL DEPOSITION OF 30(b)(6)
6     REPRESENTATIVE OF THE SATANIC TEMPLE, DOUGLAS ALEXANDER
7     MISICKO, a witness produced at the request of the
8     Defendant, taken in the above-styled and numbered cause
9     on the 10th of March, 2020 before Shyloa Myers, CCR, RPR,
10    and Notary Public, at 9:14 a.m. at the offices of the
11    Arkansas Attorney General, Civil Department, 323 Center
12    Street, Little Rock, Arkansas 72201.
13
14
15
16
17
18                          S T I P U L A T I O N S
19
20                      NO STIPULATIONS ON THE RECORD
21
22
23
24
25
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1                        (Deposition commences at 9:14 a.m.)
2                                   PROCEEDINGS
3                        THE VIDEOGRAPHER:        We are on the record.
4                  The date is March 10, 2020, and the time is
5                  9:14 a.m. This is the deposition of a 30(b)(6)
6                  representative of The Satanic Temple, Douglas
7                  Alexander Misicko.
8                        Will you swear the witness in, please.
9                        (Witness sworn.)
10                       MR. CANTRELL:       Okay. Good morning,
11                 Mr. Misicko. Before we begin, I -- I'd like for
12                 everyone here to briefly introduce yourself and
13                 say who you represent.
14                       So I'm Michael Cantrell. I represent the
15                 Defendant.
16                       MS. PATTERSON:       Lea Patterson for the
17                 Defendant.
18                       MR. SULLIVAN:       Gary Sullivan for the
19                 Defendant.
20                       MR. CANTRELL:       And state who's with you,
21                 Gary.
22                       MR. SULLIVAN:       I have observers Michael
23                 Fincher, Rachel Kluender, and Brittany Garcia
24                 from my office.
25                       MR. GILLISPIE:       Josh Gillispie for the
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1     theocrats who look to achieve exclusive privilege within
2     the United States over any other religious voice.
3     Q.      Okay. So if he expressed something like that, it
4     would have been directed toward these theocrats you're
5     referring to?
6     A.      Correct.
7     Q.      Okay. And then you're -- you gave a speech. Tell me
8     about your speech.
9     A.      My speech was directed, I believe, at the meaning
10    and significance of the Baphomet monument. But, there
11    again, I could not as I sit here right now give you any
12    verbatim quotes from that, that speech.
13            I believe it ran -- I probably would have kept it
14    under three minutes long, but just something to emphasize
15    to people what the significance of this, this moment is.
16    Q.      Okay. Do you recall using any Christian scripture
17    during that speech?
18    A.      I recall using a Bible, but I don't think I read
19    from it. I think I just tore pages out of it and threw
20    them at people.
21    Q.      Okay. There's a passage -- and let me tell you if
22    this rings a bell.
23            "The lamp of the body is the eye"? Does that ring a
24    bell?
25    A.      Yeah. Please go on.
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1     A.      So, for the most part, the content there is just
2     put there by them. If we grow aware of some kind of
3     problem or some kind of contentious leadership change or
4     whatever, I guess we could change their passwords and
5     make sure that the URL is secure in the name of the
6     organization.
7     Q.      Okay. So -- so that's all to say that the national
8     organization exercises a kind of veto editorially over
9     its local chapter Web sites?
10    A.      That's correct.
11            That's not to say we've -- we've necessarily acted
12    as editors for content that's been put on the Web site.
13    That is to say up to this point, chapters haven't
14    actually submitted content to us before posting it on the
15    Web sites for approval; but it might be a good idea to --
16    Q.      Okay.
17    A.      -- to do that going forward.
18                       (Exhibit 37 marked for identification.)
19    Q.      Okay. I'm going to hand you Exhibit 37.
20            Do you recognize this as the Certificate of
21    Organization for the United Federation of Churches, LLC,
22    with file stamp February 4, 2014?
23    A.      Yes.
24    Q.      Okay. And, on the first page, Doug Misicko is
25    listed as both the sole registered agent and the sole
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1     manager; correct?
2     A.      Yes.
3     Q.      Okay. And, if you look on the second page, that's
4     your signature down at the bottom?
5     A.      Yes.
6     Q.      Okay. And then on the third page down at the
7     bottom, it has an e-mail address: Doug@process.org.
8             Is that your e-mail address?
9     A.      Correct.
10    Q.      Okay. Now, the United Federation of Churches, LLC,
11    has bylaws; right?
12    A.      Correct.
13    Q.      Okay. And does -- does the United Federation of
14    Churches have any managers or officers or directors other
15    than you and Malcolm Jarry?
16    A.      No. I -- no.
17    Q.      Does the United Federation of Churches have any
18    legal or financial oversight by anyone else?
19    A.      Now, I'm sorry. Could you . . .
20    Q.      Does -- does the United Federation of Churches have
21    any legal or financial oversight by anyone else?
22    A.      What do you mean by "oversight"? I mean, we -- we
23    work with accountants and that kind of thing.
24            Are you talking somebody we ask permission from
25    to --
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1     Q.      Yeah.
2             I'm asking: Is there anyone to whom -- yeah, who --
3     who supervises your legal or financial activities?
4     A.      No.
5             I mean, we -- if there's question, we would consult
6     parties on how to reach the goals we want to achieve.
7     Q.      Uh-huh.
8     A.      Right.
9             I don't think that's what you're asking, though.
10    Q.      No.
11    A.      But we don't answer to some kind of higher
12    authority who makes executive decisions on, like, where
13    things are allocated or anything like that.
14    Q.      Right.
15    A.      That's like -- we're the highest rung of the
16    ladder.
17    Q.      Okay. And so -- I'm sorry.
18    A.      Malcolm and I.
19    Q.      So there's no board? You're not accountable to a
20    board of oversight or a board of directors or anything of
21    that nature?
22    A.      Correct.
23    Q.      Okay. Has the United Federation of Churches ever
24    made public disclosures of its income or expenditures?
25    A.      I -- I was under the impression, maybe wrongly,
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1      that all of these things are -- are public record, but --
2      but I might not -- I might not be correct in that.
3      Q.      Okay. Do you have any specific recollection of
4      public disclosures of United Federation of Churches'
5      income or expenditures?
6      A.      No.
7              I was under- -- under the understanding that there
8      were Government-owned sites that -- that post these
9      things or respond to these requests for public inquiry. I
10     could be wrong again.
11             But that's not -- it's not really my -- my
12     specialty.
13                        (Exhibit 38 marked for identification.)
14     Q.      Okay. All right. I'm handing Exhibit 38.
15             Do you recognize this as the Reason Alliance,
16     Limited, Articles of Organization filed September 26,
17     2014?
18             And you can see that up at the -- up at the very
19     top. And I believe it's also on the last page as well,
20     September 26, 2014.
21     A.      Yes.
22     Q.      Okay. Let's take a look at the first page there,
23     that big paragraph.
24             It starts out: "The corporation is organized
25     exclusively for charitable, religious, educational, and
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1      scientific purposes to promote the tenets as herein
2      described, including for such purposes: The making of
3      distributions to organizations that qualify as exempt
4      organizations under Section 501(c)(3) of the Internal
5      Revenue Code," and then it continues on.
6             Did I read that correctly?
7      A.     Yes.
8      Q.     Okay. So which organization was contemplated here
9      as the recipient of distributions from Reason Alliance,
10     Limited?
11     A.     I don't know technically in legalistic terms if it
12     would be that that would be disbursed to United
13     Federation of Churches for use by The Satanic Temple, but
14     the notion was that -- and this was something conceived
15     of by the lawyer we worked with as being how this just
16     works.
17            If you're both running a nonprofit and an LLC --
18     because we were raising donations for our campaigns on a
19     nonprofit basis. And -- and donors could get their tax
20     writeoff, the 501(c)(3), that kind of thing. And that
21     needed to be kept separate from the other level of
22     incorporation.
23            And this is -- this is the method by which the
24     lawyer -- let's see. Yeah, this was -- this was James
25     MacNaughton devised as being the -- the way that this is
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1      done.
2      Q.      Okay. So was this a fund-raising -- was this an
3      organization created for fund-raising purposes then?
4      A.      Yeah, I believe that would be an accurate way of
5      putting that.
6      Q.      Okay.
7      A.      But this was, like, the 501(c)(3) entity attached
8      to the fund-raising efforts of The Satanic Temple.
9      Q.      Okay. And if you take a look at the third page
10     there, it's got -- it lists Doug Misicko as president,
11     treasurer, secretary, and director; is that right?
12     A.      Correct.
13     Q.      Has Reason Alliance ever had any other officers,
14     directors or trustees or secretaries or -- I'm going to
15     leave one out -- treasurers?
16     A.      I -- I don't -- I don't think that's ever changed
17     throughout the paperwork.
18             But, I -- I mean, I should point out that this is
19     kind of filled in for the purposes of satisfying the --
20     the paperwork put forward by -- by MacNaughton. My
21     understanding was that that's -- that's just what you do.
22     So --
23     Q.      Okay.
24     A.      -- now I'm not sure the status of Reason Alliance
25     or if it's something that's useful to us, because I still
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1      any compensation or income or any reimbursement or --
2                         MR. KEZHAYA:      Again, this is a question
3                   for Doug Misicko with his personal hat on for
4                   tomorrow.
5                         MR. CANTRELL:      Okay. I'll -- I'll ask him
6                   tomorrow.
7                         (Exhibit 40 marked for identification.)
8      Q.     (Mr. Cantrell) All right. All right. Here we go.
9      All right. I'm showing you Exhibit 40. And you can put
10     that other one aside.
11            All right. Do you recognize Exhibit 40 as the
12     Articles of Organization for The Satanic Temple filed
13     November 14, 2017?
14     A.     Correct.
15     Q.     Okay. And this Article II says, begins, "This
16     organization" -- this -- excuse me, "This corporation is
17     organized as a tax exempt organization"; is that right?
18     Do you see that?
19     A.     Correct, yes.
20     Q.     Okay. Does this organization have bylaws?
21     A.     The satanic Temple?
22     Q.     Yes, the organization referred to in the document
23     we're looking at right now?
24     A.     Yes.
25     Q.     Okay. Are those bylaws distinct from the bylaws of
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1      the United Federation of Churches?
2      A.     I don't know currently -- I haven't followed the
3      revision history of all of this or how it's been merged,
4      especially since the recognition status by the IRS; so I
5      don't know.
6      Q.     Okay. Do you know if they're different from the
7      bylaws of Reason Alliance?
8      A.     I do not.
9      Q.     Okay. Do you know what other governance documents
10     this organization has?
11     A.     Do you mean both internal and in -- within State
12     and Federal filings?
13     Q.     Yes, both.
14     A.     There -- okay. There's a lot of internal
15     documentation, including the chapter agreements and other
16     agreements we have with people who work with us.
17     Q.     Okay. So there's chapter agreements.
18            What other -- what other agreements are there?
19     A.     I think we have a distinct -- a -- a unique
20     contract for media liaisons. And it may or may not be
21     discrete paperwork for members of National Council. Or at
22     this point it may just be that National Council is
23     subjected to background checks and their prior paperwork
24     used usually when they -- when they are engaged in
25     chapter work or . . .
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1                         THE COURT REPORTER:        I'm sorry, sir. Would
2                   you keep your voice up.
3                         THE WITNESS:      Oh, I'm sorry.
4                         THE COURT REPORTER:        Engaged in chapter
5                   relationships?
6                         THE WITNESS:      Yeah, I -- sorry.
7      A.     Those -- those kinds of internal agreements. I
8      think that -- I think that covers it. There may be more
9      if I think about it more.
10     Q.     (Mr. Cantrell) Okay. Are there standards of
11     conduct?
12     A.     There are.
13     Q.     Are those signed by all members? Or just by a
14     subset?
15     A.     Just by leadership.
16            On the national level, that's all we keep track of.
17     Individual chapters, a lot of them have chapter member
18     agreements that they oversee that also reiterate codes of
19     conduct and other such things.
20     Q.     Okay. Any others you can think of? Any other
21     governance documents or agreements for this organization?
22     A.     Not that I can think of as I sit here right now.
23     Q.     Okay. Take a look at Article -- Article VII.
24            The street address is listed as 64 Bridge Street,
25     Salem, Massachusetts 01970; correct?
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1      A.     Correct.
2      Q.     All right. And Douglas Misicko is listed as the
3      president, treasurer, clerk, and director; correct?
4      A.     Correct.
5      Q.     Okay. So what prompted you to create this
6      organization in November 2017?
7      A.     I don't -- I don't really know.
8             This again is in kind of consultation with a
9      lawyer -- I think it would still be James MacNaughton at
10     this point and -- and might still be him if I were -- we
11     were to consult on this again today.
12            But, you know, just in general making sure that our
13     corporate entity was the same name as our public-facing
14     organization, The Satanic Temple. It seemed like it was
15     in our best interest to maintain.
16     Q.     Okay. Does this organization have any managers,
17     officers, or directors other than Cevin Soling and Doug
18     Misicko?
19     A.     No.
20     Q.     Does it have any legal or financial oversight by
21     anyone else?
22     A.     It does not.
23     Q.     Has it ever made public disclosures of its income
24     or expenditures?
25     A.     Again, my understanding is that annually one must
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1                         THE VIDEOGRAPHER:        We are back on the
2                   record at 3:25 p.m.
3                         (Exhibit 42 marked for identification.)
4      Q.    (Mr. Cantrell) Okay. Mr. Misicko, I'm handing you
5      Exhibit 42.
6      A.     42.
7      Q.     And do you recognize this as the Articles of
8      Organization for Cinephobia, LLC, filed August 26, 2018?
9      A.     Yes.
10     Q.     Okay. And on the first page there, look at that
11     Section 2a. The address is listed as 64 Bridge Street,
12     Salem, Massachusetts 01970; is that right?
13     A.     Correct.
14     Q.     Okay. And that's the same as The Satanic Temple,
15     Inc., right?
16     A.     Correct.
17     Q.     Okay. And the managers are listed as -- under
18     Paragraph 6 as Doug Misicko and Cevin Soling, right?
19     A.     Correct.
20     Q.     Okay. So what is Cinephobia?
21     A.     Cinephobia is the production company we put
22     together to have a discrete, separate entity through
23     which we could work the -- towards the -- to manage the
24     finances and -- and other organizational goals of our
25     online video streaming platform, which is at the URL --
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1      gosh, I forget it. The Satanic Temple TV or -- or
2      TheSatanicTemple.TV.
3      Q.     Okay. And Cinephobia doesn't have any managers,
4      officers, or directors other than Cevin Soling and Doug
5      Misicko; correct?
6      A.     That is correct.
7      Q.     Okay. And Cinephobia doesn't have any legal or
8      financial oversight by anyone else, right?
9      A.     Correct.
10     Q.     And has Cinephobia ever made public disclosures of
11     its income or expenditures?
12     A.     I don't know that Cinephobia is old enough to have
13     filed anything yet, but they would at this -- at this
14     current tax term.
15     Q.     Okay. And so, to your knowledge, Cinephobia has
16     never made public disclosures of income or expenditures
17     to date?
18     A.     Correct.
19            Let me -- to my knowledge, they're not old enough
20     to have -- to have actually filed any IRS -- need to have
21     had any IRS filings.
22            I know this is August 26, 2018, but The Satanic
23     Temple TV didn't go online until this past October; and
24     only then did Cinephobia start having any finances
25     generated, any -- any income generated through -- through
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1      its activities.
2      Q.     Okay. Is Cinephobia a nonprofit organization?
3      A.     No. Cinephobia is an LLC.
4      Q.     Okay. Okay. And you can set that aside.
5             So help me understand. There's -- as I see it,
6      there's these four corporate entities. There's United
7      Federation of Churches; there's Reason Alliance, which is
8      a nonprofit; there's The Satanic Temple, Inc., which is a
9      nonprofit; and then there's Cinephobia.
10            And help me understand how these relate to each
11     other financially and organizationally?
12     A.     Well, my understanding is that United Federation of
13     Churches and Reason Alliance can be phased out now with
14     the existence of The Satanic Temple, Inc. I could be
15     wrong about that. I don't know if they serve a functional
16     purpose any longer.
17            But Cinephobia is a separate entity in that
18     Cinephobia works with content creators and -- "content
19     creators," I mean filmmakers. And these filmmakers don't
20     necessarily have to be people who identify with The
21     Satanic Temple, but they create content that we think
22     would be of interest to members of The Satanic Temple and
23     subscribers to TSTTV.
24            We have content creator agreements with those
25     content creators overseen by Cinephobia, LLC, where they
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1      receive a certain amount of the moneta- -- monetization
2      generated through the viewership of their content and
3      subscriptions. And that's a percentage based upon how
4      many views are gained on their material and that kind of
5      thing.
6             So Cinephobia is essentially a separate account to
7      keep that separate so that we are using Cinephobia funds
8      to pay the content creators. And that -- that account
9      holds the revenue generated through the streaming
10     platform.
11     Q.     Okay. Do any of these four organizations control
12     any of the others?
13     A.     Well, we view it as all part of the larger -- The
14     Satanic Temple Organization.
15            And, you know, primary to me is just the mission
16     and purpose of The Satanic Temple at large. And in my own
17     mind things like The Satanic Temple TV and the Cinephobia
18     entity made to -- to help keep that better organized are
19     just really -- really are legalistic requirements to make
20     sure that we operate these things appropriately and --
21     and functionally to the best of our ability.
22     Q.     Do any of these organizations engage in financial
23     transactions with the others?
24     A.     Well, we -- we already covered how Reason Alliance
25     would -- was used to disburse funds to campaigns of The
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1      Satanic Temple.
2              As for Cinephobia, that accounting is kept
3      separate; so that account accrues on its own and -- and
4      the funds towards content creators are -- are derived
5      strictly from Cinephobia.
6      Q.      Okay. So which -- which organization is the
7      Intervenor, The Satanic Temple, in this litigation?
8      A.      It's The Satanic Temple.
9      Q.      Okay. The Satanic Temple, Inc.?
10                        MR. KEZHAYA:      Object to speculation. He's
11                  not a lawyer.
12     Q.      Well, you can answer if -- if you -- if you do
13     know.
14                        MR. KEZHAYA:      Oh, yeah. Yeah, you can go
15                  ahead and answer whenever I'm objecting. Unless
16                  I say "don't answer," go ahead and answer.
17     A.      To me the Intervenor is The Satanic Temple as a
18     religious organization. This kind of paperwork is meant
19     to justify different facets sometimes of The Satanic
20     Temple.
21             But to me it's all this larger religious body,
22     this -- this organization of -- of The Satanic Temple.
23     So to me it's not a question of who -- who's -- I'm just
24     trying to tell you how -- how that question doesn't
25     necessarily make sense to me from how I contextualize
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1      what this organization is.
2      Q.     So, if I understand what you're saying, there is --
3      there is The Satanic Temple, which is kind of an
4      umbrella. And then under that umbrella you have: The
5      Satanic Temple, Inc.; you have United Federation of
6      Churches; you have Reason Alliance; and then you have
7      Cinephobia?
8      A.     I don't even see those things as under any type of
9      umbrella. These are -- and, you know, things like Reason
10     Alliance and the United Federation of Churches are
11     completely different to me than something like
12     Cinephobia; because Cinephobia is representative of
13     another project within The Satanic Temple.
14            United Federation of Churches, Reason Alliance
15     where more things, entities that emerged from
16     consultation with either accountants or lawyers meant to
17     help us better manage The Satanic Temple.
18            But to me The Satanic Temple has always been this
19     kind of one thing.
20     Q.     So and I'm -- I'm trying to understand how you
21     understand this to work.
22            So you claim that The Satanic Temple is tax exempt?
23     A.     No. It demonstrably is.
24     Q.     Okay. But when you talk about The Satanic Temple,
25     that includes organizations that are for profit and not
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1      tax exempt; right? You see the struggle I'm having?
2      A.     I -- I don't -- I don't see that as being -- I
3      mean, I see plenty of religious organizations that
4      operate in the same -- same manner, so it's not something
5      to me that makes me think that this is something untoward
6      or something questionable.
7      Q.     Well, I'm not even suggesting at -- I mean, at this
8      point that it's questionable. I'm just trying to
9      understand, you know, all of the individual statements
10     that I'm seeing, one being The Satanic Temple is tax
11     exempt, another one being that all of these corporate
12     entities are related and we can refer to all -- all of
13     them in some way as "The Satanic Temple."
14            And those include for-profit businesses. That's
15     what I'm -- that's the disconnect I'm -- I'm feeling and
16     not understanding.
17            Can you shed any light on that?
18     A.     Well, I'm not really sure what the question is,
19     because there is a tax exempt religious organization of
20     The Satanic Temple; but it can also engage in for-profit
21     commerce, a online Web store or whatever else.
22            And, you know, my understanding of it is that this
23     is how you do those things, how you do those various
24     things.
25                        (Exhibit 44 marked for identification.)
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1      Q.      Okay. Let me ask you more specifically about some
2      related things.
3              So I'm handing you Exhibit 44.
4              Do you recognize this as a Web page titled,
5      "Contribute to The Satanic Temple," from
6      TheSatanicTemple.com? And this was printed on
7      February 11, 2020.
8              Do you recognize that?
9      A.      Yes.
10     Q.      Okay. And so it says -- there's a little asterisk
11     there toward the bottom on the right.
12             It says: "Contributions/donations support the
13     efforts and campaigns of The Satanic Temple but are not
14     tax deductible."
15             Did I read that correctly?
16     A.      Yes.
17     Q.      Okay. So -- so is it true that contributions to The
18     Satanic Temple are not tax deductible?
19     A.      They -- they should be tax deductible now.
20             I don't know where we are in the process of
21     updating so that these things work in alignment with our
22     current IRS status. I don't know -- I -- I can't really
23     offer more illumination on this particular item on the
24     site.
25             But I do know this has been an ongoing process to
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1      Q.     Okay. All right. And you can set that aside.
2             All right. Now I'm showing you Exhibit 63.
3             Can you tell me what this is?
4      A.     I've got it.
5      Q.     Can you tell me, what is Exhibit 63?
6      A.     It looks like it's screen grabs from the online
7      shop from The Satanic Temple Web site.
8      Q.     Okay. And so these are items that are for sale on
9      SatanicTemple.com; is that right?
10     A.     Correct.
11     Q.     Okay. And when a person makes -- makes a purchase
12     on TheSatanicTemple.com of one of these items, where does
13     that money go? Does it go to a particular -- one of the
14     particular legal entities? Or does it go into an account
15     controlled by you? Or by Malcolm Jarry? Or what happens
16     to that?
17     A.     Well, that -- that goes into a general fund.
18     Q.     Okay. A general fund for non-tax exempt
19     contributions?
20     A.     A -- a general fund I guess generated by the -- by
21     the for-profit incorporation of The Satanic Temple.
22     Q.     Okay. And so that would be -- that would be the
23     United Federation of Churches?
24     A.     I assume. I assume so.
25     Q.     All right.
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                               CERTIFICATE
  STATE OF ARKANSAS            )
                               )ss
  COUNTY OF SALINE             )
        I, Shyloa Myers, CCR, RPR, and Notary Public, do
  hereby certify that the foregoing testimony of the
  witness, 30(b)(6) REPRESENTATIVE OF THE SATANIC TEMPLE,
  DOUGLAS ALEXANDER MISICKO, was reported verbatim through
  the use of the stenographic method and transcribed by me
  or under my direct supervision to the best of my ability,
  taken at the time and place on the caption hereto.
        I FURTHER CERTIFY that in accordance with Rule 30(e)
  of the Rules of Civil Procedure, review of the transcript
  WAS NOT requested.
        I FURTHER CERTIFY that I am not a relative or
  employee of any attorney or employed by the parties
  hereto, nor financially interested or otherwise in the
  outcome of this action, and that I have no contract with
  the parties, attorneys, or persons with an interest in
  the action that affects impartiality or that requires me
  to provide any service not made available to all parties
  to the action.
        WITNESS MY HAND AND SEAL this 10th day of
  April, 2020.

  _________________________________                  _______________
  Shyloa Myers, RPR, Notary Public                      (SEAL)
  Arkansas CCR Lic. No. 710
